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Attorne s for Det`endant CENTENE
CORP RATION
UNITED STATES DISTRICT COURT
CENTRAL D!STRICT OF CALIFORNIA, WES'I`ERN I)IVISION

MICHELLE RAMNARINE, an Case No.
individual,
Plaintiff, NOTICE OF REMOVAL OF CIVIL
AC'I`ION; MEMORANDUM OF
vs. POINTS AND AUTHORITIES;
DECLARAT!ON OF MAGGIE

CENTENE CORPORATION a ANDERSEN
Delaware col‘porat_ion; and D©ES f _
through 10, lncluslve, Los An eles Superlor Court Case No.

C7000 4]

 

Defendants.

 

Defendant CENTENE CORPORATION (“Defendant”) states as follows:

E. On March 29, 2018, Plaintiffl\/IICHELLE RAMNARINE (“Plaintiff"’)
filed her Complaint in the above»entit}ed civil action in the Superior Court for the
State of California, County of Los Angeles, Case No. BC700074, Wh§ch is presently
pending against Defendant (_“Superior Court Action”).

2. Det`endant Was served with the Superior Court Action on March 3(),
2018, When its agent for service of process received a copy of the Summons and
Complaint. True and correct copies of the Summons and Complaint are attached as
Exhibit “A”.

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3. Defendant tiled its Answer to the Superior Court Action on April 25,
20i 8. A true and correct copy of the Answer filed by Defendant in the Superior
Court Action is attached as Exhibit “B”.

4. Defendant is informed and believes that none of the purported Doe
Defendants have been served with the Summons and Cornplaint.

5. The Sumrnons and Complaint by Piaintiff(Exhibit “A”), and the
Answer filed by Defendant (Exhibit “B”) constitute all ofthe process, pleadings
and orders which Defendant has knowledge of being filed in the Superior Court
Action.

6. Piaintir"f`s Superior Court Action is a civil action over which this
District Court has original subject matterjurisdiction under 28 U.S.C. § E44i(b)
based upon complete diversity of citizenship and an amount in controversy between
the parties exceeding the sum of $75,000, exclusive of interest and costs. "I`he action
may properly be removed to this Court by Det`endant pursuant to 28 U.S.C. §

1441 (b) because:

a. At the time of the commencement of this action and at all times since,
Defendant was, and continues to be, a corporation incorporated under
the iaws of the State of Delaware, with its principal place of business in
St. Louis, Missouri. St. Louis, l\/iissouri is where Dei`endant’s
corporate headquarters are located, where Defendant’s corporate
officers direct, control and coordinate the corporation’s activities, and
where Defendant’s corporate records are maintained Defendant is a
citizen ofthe States of Delaware and Missouri under 28 U.S.C. §
1332(c), and is not a citizen ofthe State of California. (Andersen
Deciaration, im 2~3; Complaint1] 2.)

b. Dei`endant is informed and believes and thereon alleges that at the time
of the commencement of this action and at all times since, Plaintiff

was, and continues to be, a citizen of the State of Caiifornia.

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(Complaint, 1l l.)

Although unidentified fictitious “Doe” l)ef`endants are alleged in
Plaintiff`s Complaint, 28 U.S.C. § l44l(a) provides, in pertinent part_,
that “[f']or purposes of removal under this chapter, the citizenship of`
defendants sued under fictitious names shall be disregarded.”

Because Plaintif`f is a citizen of` California, and Del`endant is a citizen of
Delaware and Missouri, complete diversity exists between Plaintiff and
Def`endant in this action.

For purposes of diversityjurisdiction under 28 U.S.C. § l332(a), the
amount in controversy in this action, exclusive of interest and costs,
exceeds the sum of $7.’5,000. Specifically, the Complaint alleges that
Plaintiff was terminated from her employment on or about l\/lay 16,
20l7 (Exh. A, Cornplaint, 1§ l7). Based on the allegations in the
Complaint, Plaintiff seeks to recover loss of salary and benefits since
her termination (]d., W 27, 36, 43, 55, 66, 73, 80, 87). /~\t the time ot`
her termination, Plaintif`f‘s salary was approximately 364,000.
(Andersen Decl., ll 4). Defendant estimates that Plaintit`f will assert
that her lost wages and other benetits to date are over 336(),000 and by
the time oftrial in this action over 8128,000. Plaintiff further seeks to
recover emotional distress damages, punitive damages, attorney's fees,
and a 5310,000 civil penalty (Complaint, W 28, 29, 37, 38, 44, 45, 46,
56, 57, 67, 68, 74, 75, 76, 8] , 82, 83, 88). Each ofthese items must be
considered when determining the amount in controversy In light of the
allegations in the Complaint and the attached Declaration of`l\/laggie
Andersen, the amount in controversy herein is well in excess of
375,000, exclusive of interest and costs.

'l`hi_s District Court has jurisdiction over all the parties, and its territorial

jurisdiction embraces the place where the Superior Court Action is pending

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Notice ol` Rcmoval of`Civil Action

 

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WHEREFORE, Defendant prays that the Superior Court Action be removed

from the Los Angeles County Superior Court to this District Court.

BALLARD ROSENBERG GOLPER &

SAVITT, LLP

By: x /j/;é, _

riot ATHAN s. Ro’sENBnRJ
Attorn ' for Defendant CENTENE
CoRPoRATIoN

DATED; Apni §§ 2018

 

l certify under Fed. R. Civ. P. 11 that the foregoing is true and correct to the

best of my knowledge

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MEMORANDUM ()F P()INTS AND AUTHORITIES
IN SUPPORT OF NOTICE OF REM()VAL

I. INTR()DUCTlON

Plaintiff alleges eight causes of action in her Comp]aint: (1) discrimination;
(2) failure to investigate and/or prevent discrimination; (3) retaliation; (4) failure to
engage in the interactive process; (5) failure to accommodate; (6) interference with
and failure to provide leave; (7) failure to accommodate and provide leave; and (8)
wrongful termination This case is properly removed to this District Court on the
basis of diversity. 'l`here is complete diversity between l’laintiff` and Defendant, and
the amount in controversy exceeds $75,000, exclusive of interest and costs.
il. PLAINTIFF’S SUPERIOR COURT ACTION CAN BE REl\/IOVEI)

BASED ON DIVERS}TY

Federal law confers upon district courts original jurisdiction in civil actions
between citizens of different states in controversies which exceed the sum of
$75,000, exclusive ofinterest and costs. (28 U.S.C. § l332.) An action meeting the
requirements of 28 U.S.C. § 1332 may be removed to a district court pursuant to 28
U.S.C. § l44l(b).

A. There is Complete Diversity Between Plaintiff and Defendant

A corporation is considered a “citizen” for diversity purposes both of the state
of its incorporation, and of the state where it has its principal place of business (28
U.S.C. § l332(c)(1).)Both at the commencement of this action and at the present
time, Defendant was incorporated in the State ofDelaware, and had its principal
place of business in St. Louis, l\/lissouri. (Andersen Decl., llll 2»3, Exh. A,
Complaint, ll 2.)

In Herrz Corp. v. Friend, l30 S.Ct. 1181, l75 L.Ed.2d l029 (_201()), the
Supreme Court held that a c-orporation’s principal place of business for diversity
purposes is the place where a corporation’s officers direct, control and coordinate

the corporation’s activities (ld. at l 192.) As explained in Herrz:

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Notice of Removal ofCivil Action

 

 

 

     

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“And in practice it should normally be the place where the corporation
maintains its headquarters ~- provided that the headquarters is the actual
center of direction, control, and coordination, 11 e., the “nerve center,”

and not simply an office where the corporation holds its board meetings

(for example, attended by directors and officers who have traveled

there for the occasion).” (Id.)

In Herrz, respondents, California citizens, sued petitioner llertz Corporation
in a California state court for alleged state law violations l‘lertz removed the case to
federal court under 28 U.S.C. §§ 1332(d)(2), i441(a) based on diversity
Respondents argued that liertz was a California citizen and diversity jurisdiction
was lacking under § l332(c)(l). To show that its principal place of business was in
l\lew lersey, not California, Hertz submitted a declaration stating that it operated
facilities in 44 States, that California accounted for only a portion of its business
activity, that its leadership was at its corporate headquarters in l\lew lersey, and that
its core executive and administrative functions were primarily carried out there. (ld
at l 183.) The district court concluded that it lacked diversity jurisdiction because
Hertz was a California citizen under prior l\linth Circuit precedent finding that
California was Hertz’s principal place of business because a plurality ofthe relevant
business activity occurred there, the district court remanded the case to state court.
The Ninth Circuit affirmed ([d.)

The Supreme Court reversed Applyi_ng the “nerve center test,” the Supreme
Court held that the petitioner’s declaration adequately demonstrated that liertz’s
center of direction, control and coordination, or its “nerve center” was located in
New lersey, not California. (Id. at l 195.)

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Here, Defendant is incorporated in Delaware. Defendant’s corporate
headquarters are located in St. Louis, l\/lissouri, where its corporate officers direct,
control, and coordinate the corporation’s activities, and where Defendant’s
corporate records are maintained (Andersen Decl., llll 2~3, Exh. A, Complaint, ll 2.)
Thus, Defendant is a citizen of Delaware and Missouri, and there is complete
diversity of citizenship

B. The Amount in Controversv Exceeds 375,000

fn addition to there being complete diversity of citizenship, the Complaint
establishes that the amount in controversy exceeds $75,000, exclusive of costs and
interest ln St'nger v. Srczre Fcrrm Mnt. Auro. lns. Co., 1 16 F.3d 373 (9lh Circuit 1997),
the Ninth Circuit discussed how to determine the amount in controversy where, as
here, the Complaint does not allege a specific sum of damages for each plaintiff "l`he
defendant's burden is met where it is "facially apparent from the complaint" that the
amount in controversy exceeds $75,000, or where such facts are set forth in the
removal papers. ]d., at 377; Conmd Assocs. v. Harrfc`)rd Accr`a'em & ]ndem. Co,, 994
l"*`.Supp. l196, l198(1\l.D. Cal. 1998).

'l`he Cornplaint alleges that Plaintiff was terminated on May 16, 2017 (l;§xh. A,
Complaint, lll 7). Plaintiff seeks to recover lost wages and other employment benefits
since her termination ([d., llll 27, 36, 43, 55, 66, 73, 80, 87, Prayer ll 3.) At the time
of her termination, Plaintiff s salary was approximately 364,000 per year, plus benefits
(Andersen Decl., ll 4). Defendant estimates that Plaintiff will assert that her lost wages
and other benefits to date are over $60,000 and by the time of trial in this action over
3128,000.

Plaintiff further seeks to recover emotional distress damages, punitive
damages, attorney's fees, and a $10,000 civil penalty (Exh. A, Complaint llll 28, 29,
37, 38, 44, 45, 46, 56, 57, 67, 68, 74, 75, 76, 81, 82, 83, 88, Prayer llll 4, 6, 8). Each
of these items must be considered when determining whether the amount in

controversy exceeds 375,000. Be// v. Pr"eferred Lr'fe Assurcmce Soc ’y, 320 Ll.S. 238,

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240, 64 S.Ct, 5, 88 L.Ed. 15 (1943); Goldberg v. CPC Irzt ’l, 678 F.2d 1365, 1367 (9th
Cir. 1982). California law places no maximum dollar figure on the amount of such
damages a successful plaintiff can recover. Courts have affirmed awards for
emotional distress damages, punitive damages and attorney’s fees in FEHA cases far
in excess of $75,000. See, e.g., Vo v. Las Vi.rgerzes Mum`cr'pa/ Water Disr., 79
Cal.App.4th 440, 442, 94 Cal.Rptr.2d 143 (20()2) (affirming $470,000 award of
attorney’s fees under FEHA); Bihun v. AT&TInforn/zarion Sys., l3 Cal.App.¢lth 976,
997, 16 Cal.Rptr.Zd 787 (1993) (“The award of $662,000 for emotional distress
[under FEHA] is well within the range of awards in similar cases.”); Stepher)s v.
Coldwell chker Commercial Group, 199 Cal.App.3d 1394, 1402~05, 245 Cal.l{ptr.
606 (1988) (affirming emotional distress damages of 33 1 00,000 and punitive damages
of $200,000 in FEHA case).

Based on the allegations in the Cornplaint, the nature ofthe relief requested
by Plaintiff, and the information contained in the Declaration of Maggie Andersen,
Defendant respectfully submits that the amount in controversy herein, exclusive of
interest and costs, is well in excess of $75,000. Accordingly, this matter is properly
removable based on diversity jurisdiction
II!. CONCLUSION

lior all the foregoing reasons, Defendant respectfully submits that Plaintiff s

Superior Court Action is properly removable to this District Court.

BALLARD ROSENBERG GOLPER &
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Attorne/y for Defendant

CENi NE CORPORAl lOl_\l

DATED; Aprna_l_§, 2018

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DECLARATION ()F l\/IAGGI`E ANDERSEN

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DECLARATION OF MAGGIE ANDERSEN
IN SUPPORT OF NOTICE OF REMOVAL

l, Maggie Andersen, declare as follows:

1. l arn employed as Senior Director, Human Resources Business Partner,
with responsibility over the human resources functions for Defendant Centene
Corporation’s corporate departments ("Det`endant"). This Declaration is made in
support of Defendant’s Notice of Rernoval of Civil Aetion. lf called as a witness, 1
could and would competently testify to the following facts based on my own personal
knowledge

2. At the time of the commencement of this action and at all times since,
Defendant was, and continues to be, a corporation incorporated under the laws of the
State of Delaware.

3. Defendant’s principal place of business, both at the present time, and at
the time the Superior Court Action was tiled, is St. Louis, Missouri. St. Louis
Missouri is where Defendant’s corporate headquarters are located, where Defendant’s
corporate officers direct, control and coordinate the corporation’s activities, and
where Defendant’s corporate records are maintained

4. AS Senior Director, Human Resources Business Partner, l have access to
the personnel and pay records of the employees of Centene Corporation and its
subsidiaries Based on my review of Plaintiff lviichelle Ramnarine's pay records, her
salary at the time of her May 16, 2017 termination was $63,5 l2.

I declare under penalty under the laws of the United States of America that the
foregoing is true and correct. This Declaration is executed on Aprilg@_, 2018, at

St. Louis, Missouri.

mdldis ANDERSEN, claimant

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EXHIBIT A

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Grant J. Suvoy & Sholmm So!ould, Bsq; 316W. an St., Stc 1200., Los Angelos, CA 90012; C213)814-4940

 

 

 

 

 

 

 

 

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2.. [:] as the person sued undorllro llol|lkom name or fmcl`ly).'
3_ EXJ on sandra (sPedM: Centene, a belaware Corporation
under [i'] ccP 413.10 rmmomuon} _ coe nasa ¢minon
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E] GCF 418.40 (aasmlellm or parmoroiitp) E;‘] CCPMB.BU {aulhorlzed parocn}
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BY FAX

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Shoham I. Solouki, Esq. ( BN: 278538) uOHIGiNAL FlLl.'-“.B
2 summit S! sAon, LLP urv‘»; Cg,",[§,§',\$,':,",`f.g;"'”
316 W. 2" Sreet, Suite 1200 mm v
3 Los Angeles, california 90012 HAR 2 g 2313
Telephone: (213)814-4940 , `
4 Facslmi|e: (213]814-255_0 sham ll. ua- .¢., ' - v-'*°”W'“
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6 Mr'chels amnm'r`ne
. 7 _
8 SUPERIOR COURT OF THE STATE OF CALIFORNIA
9 FOR THE COUNTY OF LOS ANGELES »~ CENTRAL DIS'l`RIC'l`
10 MICHEL!..E RAMNARINE, an individual, Cuse No.:
11 Plaintiff coMPLA:N'r von nAmcEs inom:
12 1. mscRmmA'rmNrN vrol.A'rroN orr
p, cAL£FoRNIA covERNMENT come §
d 13 1 2940 E'r sEQ
>‘- "S- 2. thurman 'ro INvEsTrGA'rE ANo/oR
0 14 PREVENT mscmmmxrrow IN
§ vI_oI.ATIoN oF CALIFQRNIA
m 15 ' covl-:RNMENT comr § 12940 m AND gm
- CBNTENE CORPORATION a D°]‘*W“'° :s nETALrATIoN m vroLA'rloN or
§ 16 corporation; and DOES 1 through 10, cALmoRNrA covERNMENT CoDE §
0 inclusivc,1294o E'r SEQ AN!) moon come § 1162.5
...: 17 4. FAILURE 'ro F.NGAGE IN TBE
9, rmna.c'z'lve rnocr:ss m vloLA'rloN
18 Defendant orr cALIFoRNIA GOVERNMENT conn §
- 129-w E:r sEQ
19 s. FAlLunm 'ro AccoMMo:)A'rE m
vzoLA'rloN oF cALrFoRNrA
20 covERNMENT conn § 129-10 m sF.Q
6. INT:;RFERF.NCE wlTH ANo FAILURF.
21 :ro mccva LEAVE m vroLA'rloN orr
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22 12945.2 ET sEQ.
1. FAILURE 'ro Accon/MQDATE AND
23 mova ucle m vzoLA'rroN oF
cALmoRmA GoVBRNMEN'i' edna §
24 12940 E'r sEQ.
s. waoNcFuL 'rERMxNA'ron m
25 vroLA'rloN orr rubch roLIcY
26 uth nmb DE.MANmm~
27 Plaintiff, MICHELLB R.AMNARINE, hereby brings her complaint ugninsl the above-

namcd Defendant and states and alleges as follows:

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COM`FLA[NT FDII. `DAMAGES

 

 

 

fine No.:

 

 

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_ PRELlM!NAR¥ ALLEGATIONS

1. Plaintiff is a female, and was at all times material herein, a resident of the '
Coimty of Los Angeles, State of California. Plaintiff was employed by certain Defendants in
the County of Los Angeles. Plaintiff was, stall times material herein, an “employee,” as
defined by California Government Code § 12926(o), part of the Fair Employment and
Housing Act (“FEI-IA", Government Code Seetions 12900 et seq.)

2. Plaintiff is informed and believes and based thereon alleges that at ail times
relevant herein. Defendant CENTENE iNC., was and is a Delaware Corporation. Plaintiff is
informed and believes that Defendant CENTENE, INC., is an “employer” as defined by
California Governmcnt Codc Sections 12926(d), 12940{a), and 129406)(4)(!1).

3. ’l‘he true names and capacities, whether eorporate, associate, individua|, or
otherwise, of Defendant DOES l through 50, inciusivc, are unknown to Plaintiff, who
therefore sues said Defendants by such Ectitious names. Each of the Defendants designated
herein as DOE is negligently, iiitentionally, or otherwise legally responsible in some manner
for the events and happenings herein referred to and caused injuries and damages proximately
thereby to the Plaintiff, as herein alleged Plaintiff wilt ask leave of Court to amend the
Complaint to show their names and capacities when the same have been ascertained

4. At all times relevant herein, each Defendant designated herein, including DOES
1 through 50, was the agent, partner, joint venture, representative, servant, employee and/or
eo'-conspirator of each of the other Defendants, and was at all times mentioned herein acting
within the course and scope of said agency and cmpioyrnent, and all acts or omissions alleged
herein were duly committed with the ratification, knowledge, permission, encouragement,
authorization, and consent of each Defendant designated herein.

5. 'I`he action is brought pursuant to the Ca!ifornia Fair Employment Praelioes
Act, Government Code § 12900 et seq., and the corresponding regulations of the California
I~`air Employment and Housing Commission.

6. Defendant hired Plaintiff as a Project Coordinator in or around August 2004.

_ 7. During the course of said employment, Plaintiff performed her job duties as a

Case No.: COMPLA!NT FOR 'DAMAGES

 

 

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Pro_iect Coordinator, and later, as a `Business Anaiyst, for Defendants in a competent and
efficient manner and acted within Defendant’s rules and policies in general, Plaintiff
performed her duties as an exemplary employee

8. ' Plaintiff has had a series of complications reiated to her medical condition
First, Plaintiff was diagnosed with thyroid cancer in or around January 2013. As a result, she

took some time off from' working for Defendants.

9. In or around Juiy, 2016, Plaintiffs condition worsened and she suffered from
hyper thyroid status and severe weight loss which caused her to be extremely weak and
nauseous. 'She also suffered from depression as a result of her illness.

10. Shortly thereafter, Plaintiff had advanced complications with her condition
around Decemher, 2016. She again was forced to take some time off from working for
Defendants as a Business Anaiyst.

11. Defendant was notified ofall of Plaintist medical issues and any leaves she
was required to take as a result of said issues. Whenever Plaintiff needed to go to the
emergency room or to see her other doctor’ s, she informed Defendant of the same through
multiple channels of communication.

12. Plaintiff applied for medical leave and was entitled to a medical leave under the‘
California Family Ri'ghts Act (“CFRA”) and Family and Medical Leave Aet (“FMLA”) to
gain treatment for her hypcr thyroid statas. n

i3. Defendant made the decision to terminate Plaintiff in February of 20i7 and
asked her to return her laptop. They did so within the period of Plaintiff's protected leave.

14. 'I`h.roughout her employment, Plaintiff requested that Defendant approve her
medical leave and to provide her with reasonable accommodations so that she could return to
work.

15. 'i`he inst such request by Plaintiff for Defendant to approve her medical leave
and/or provide her with a reasonable_accommodation to tatum to work in June was in or

around May 5, 2017.
16. However, Defendant denied many ofPlaintiifs medical leave requests,

Clsc No.: COMPLA!NT FOR DAMAGES

 

 

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including her final request

l?. Plaintiff was notified that she was terminated on cr around May 16, 2017.

18. Further, Plaintiff did not receive notice of the denial of the protected leave until
in or around May 18, 20]7.

l9. Plaintiff alleges that she was discriminated against due to her medical
condition, disability and/cr, perceived disability. l

20. Further, Plaintiff alleges that she was retaliated against for asserting her right to
take a leave of absence due to her medical condition, disability and/or perceived disability

21. Further, Plaintiff alleges that she requested that Defendant engage in the
interactive process and to provide her with a reasonable accommodation, and was denied such -
processes due to her medical condition, disability and/or perceived disability. Finally,
i’laintili` alleges that she was terminated due to her medical condition, disability and/or
perceived disability _

22. Plaintiff has suffered damages as a result of Defendants actions andlor inaction.

23. Plaintiff has properly exhausted her administrative remedies as required by law
by filing a complaint against Defendant with the Department of Fair Brnployment and
Housing on October 19, 2017, and receiving an immediate "Right-to-Suc” Notice from said
department on the`sarne day. Piease see a true and correct copy of the Right to Sae letter

attached hereto as Exhibit “A”. Thus, Plaintiff has exhausted all administrative remedies

 

 

 

FIRST CAUSE OF ACTiON
DISCRIMINATION IN VIOLATION OF CAI¢_IFORNIA GOVERNMENT QOI)E §
12940 ET SEQ

(Against All Defendants)
24. Plaintiff realleges and incorporates herein ali paragraphs of her complaint as though
fully set forth.
25. At ali times herein mentionedl Caiifornia Govemmertt Code § 12940 et seq. were in
full force and effect and were binding on Defendantl Under the Fair Employment and Housing Act
("FEHA“). Government Code section 12940 et. seq., it is an unlawful employment practice for an

Case Nu.: COMPLA[NT FOR DAMAGES

 

 

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employer because of the age, disability, perceived disability, medical condition and!or perceived
medical condition of a person, to refuse to hire or employ the person, to refuse to select the person
for a training program leading to employment to bar or discharge the person from employment or
from a training program leading to employment, or to discriminate against the person in
compensation or in terms, conditions, or privileges of employment It is unlawful under the Fair
Empioyrnent and Housing Act ("FEHA") Government Code section §2940 et seq., because of an
cmployee's disability, perceived disability, medical condition and/or perceived medical condition,
to harass an empioyee.

26. As a direct, legal, and proximate result of Plaintiffs age, disability, perceived
disability, medical condition and!or perceived medical condition, Defendant discriminated against
Plaintiff in the compensation, terms, conditions, and privileges of employment and terminated
Plaintiffs employment.

27. As a proximate result of the aforesaid acts ofDefendants, Plaintiff has suffered
actuai, consequential and incidental financial losses, including without iirnitation, loss of safety
and benefits, and the intangible loss of employment related opportunities in her field and damage
to her professional reputation, all in an amount subject to proof at the time of trial. Plaintiff ciairns
such amounts as damages pursuant to Civil Code § 3287 andlor § 3288 andlor any other provision
of law providing for prejudgment interest

28. As a proximate result of the wrongful acts ofDefendants, Plaintiff has`been forced
to hire attorneys to prosecute her claims herein, and has incurred and is expected to continue to
incur attorneys' fees and costs in connection therewith PiaintiH` is entitled to recover attorney’s
fees and costs under California Govermnent Code § 12965(b).

29. The acts taken toward Plaintiff were carried out by Defendant's oHicers, directors,
andlor managing agents acting in a despicable, oppressive fraudulent malicious, deliberatc,
egregious, and inexcusable manner and in conscious disregard for the rights and safety ofthe
Plaintiffl Defendant audits agentsfcrnployecs or supervisors authorized, condoned and ratified the

unlawful conduct of each other. Conseque_ntly, Plaintiff is entitled to an award of punitive damages

against the Defendant

Ct\sc No.: COMP`LA!NT FOR DAMAGES

 

 

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SECOND CAUSE OF ACTION
FAILURE TO INVESTIGATE AND!OR PREVENT DISCRM!NATION lN VIOLATION
OF CALIFQRNIA GOVERNMENT CODE § 12940 §i} AND (k]
_(Against All Defendants)

30. Plaintiff realleg¢¢ and incorporates herein all paragraphs of her complaint as though
fully set forth. _

31. In violation of Cal. Gov. Code section 129406) and (k), Defendants and each of
them, and/or their agentslemployees, failed to take all reasonable steps necessary to prevent d
discrimination on the basis ofdisal)ility, perceived disability, medical condition and/or perceived
medical condition from occurring, and to remedy such discrimination

32. Defendants and the agents thereol", have committed the acts herein alleged
maliciously and oppressively, with thc wrongful intention of injuring Plaintiff, vvith an improper
and intentional motive amounting to malice and in conscious disregard of Plaintifi‘s rights
Accordingly, Plaintiff requests the assessment of punitive damages against Defendants, in an
amount appropriate to punish and make an exampte of it.

33. Plaintiff has incurred, and continues to incur, legal expenses and attomeys' fees and
will seek reimbursement of her attorneys’ fees pursuant to California Gov. Code section i2965(b).

minn cause or AcrioN`
-RETALIATION IN VIOLATION OF CALIFORNIA GOVERNMENT CODE
§ 12940 ET SEQ. AND LABOR CODE § 1102.5
(Against Ail Defendants)

34. plaintiff realleges and incorporates herein all paragraphs of her complaint as though
fully set foith.

35. At all relevant times herein and in violation of Cal. Gov. Code § 12940 et scq.,
Defendants and each of them, andfor their agents/employees retaliated against Plaintiff by
adversely _ati`ectin g Plaintiffs employment alter she notified Defendants of her need to take ieave
for her medical condition and/or disability. Defendants' cdnduet as alleged above constituted

Cnsc Nc.: COM`PLA!NT FOR DAMAGES

 

 

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unlawful retaliation in employment on account of Plaintiff protected activity in violation of
Califomia Ciovcrnment Code§ 12940(h) and § 12945.2 (l).

36. As a proximate result of the aforesaid acts of Defendant, Plaintiff has suffered
actual, consequential and incidental financial losses, including without limitation, loss of salary
and benefits, and the intangible loss of employment related opportunities in her field and damage
to her professional reputation, all in an amount subject to ploo'f at the time of trial. Plaintiff claims
such amounts as damages pursuant to Civil Code § 328? andlor § 3288 andlor any other provision
of law providing for prejudgment interest '

37. As a proximate result of the wrongful acts ofDefendants, Plaintiff has been forced
to hire attorneys to prosecute her claims herein, and has incurred and is expected to continue to
incur attorneys' fees and costs in connection therewith Plaintiff is entitled to recover attorney’s
fees and costs under California Govemment Code § 12965(b).

38. The acts taken toward Plaintiff were carried out by Defendant's oflicers, directors,
and/or managing agents acting in a despicable, oppressive, fraudulent, malicious, deliberate,
egregious, and inexcusable manner and in conscious disregard for the rights and safety of the
Ptaintiff. Defendant and its agents/employees or supervisors, authorized, condoned and ratitied the
unlawful conduct of each other. Consequently, Plaintiff is entitted to an award of punitive damages
against the Defendant

39. At all times mentioned, the public policy of the State of California, as codified,
expressed and mandated in Lab. Code section 1102.5, et. seq., is to prohibit employers from: (t)
implementing policies preventing employees from disclosing reasonably based suspicions of
violations of state or federal statutes; (2) retaliating against employees who have disclosed, or who
the employer fears may disctosc, reasonably based suspicions of violations to their superiors or to
outside agencies and (3) retaliating against employees who refuse to participate in activities that
would result in violations of state or federal statutes This public policy of the State of California is

designed to protect all employees and _to promote the welfare and wali-being of the community at

large.

Casc No.: COMPLAINT FOR DAMAGES

 

 

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40. At all times mentioned the public policy oftbe State of Calii`ornia, as codified,
expressed and mandated in Lab. Co_de sections 96(k) and 98.6, is to prohibit employers from
disciplining,' discharging or discriminating against because the employees (i) engaged in lawful
off duty conduct; (2) filed a bona tide complaint or claim; (3) instituted any proceeding relating to
their rights under thejurisdiction ofthc Labor Commissioner; (4) testified or participated in any
proceeding before the Labor Commissioner; or (S) exercised any other rights-afforded the
empioyec. 'l`his public policy of the State of Califomia is designed to protect all employees and to
promote the welfare and well»being of the community at large.

4l. As a direct, legal, and proximate result of PlaintiH’s law`fui conduct, and Plainti_t`i‘s
complaints about Defendants acts and omissions that were i`n violation of the various Califomia
orders, codes, and regulations; Defendants retaliated against Flaintili` and terminated Piaintit’i‘s
employment Speciiically, Piaintiff’s employment was terminated because she attempted to
exercise and assert her legal labor and employment rights afforded to her by the various codes,

regulations, and orders of this State.
42. Accordingly, the actions of Defendants, as described herein were wrongti.rl and in

contravention of the express public policy of the State of Caiifornia, to wit, the policy set forth in
l.ab. Code section 1102.5, et. seq., and sections 96(k), 98.6, and the laws and regulations
promulgated thereunder. l
- 43. As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered

actuai, consequential and incidental _linancial losscs, inciuding without limitation, loss of salary '
and benefits, and the intangible loss of employment related opportunities in her field and damage
to her professional reputation, all in an amount subject to proof at the time of trial. Plaintiffciaims
such amounts as damages pursuant to Caiifornia Civil Code sections 3287, 3288 and/or any other n
provision of law providing for prejudgment interestl

44. - As a proximate result of the wrongful acts ot`.Det`endants, PlaintiH` has suffered and
continues to suffer emotional distress, humiliation, mental anguish and embarrassment Plaintiff is

informed and believes and thereupon alleges that she will continue to experience said emotional

Cose No.: COMPLA!NT l"OR DAMAGES

 

 

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suffering for a period in the future not presently ascertainable all in an amount subject to proof at
the time of triai. v

45. 'I`he acts taken toward Plaintiff were carried out by Defendants’ oiiicers, directors,
andfor managing agents acting in a despicabie, oppressive, fraudulent, malicious, deliberate
egregious, and inexcusable manner and' m conscious disregard for the rights and safety of Flaintiff.
Defendants and their agents/employees or supervisors, authorized, condoned and ratified the
unlawful conduct of each othcr. Conscqucntly, Piaintiff' rs entitled to an award of punitive damages

against each Defendant _
46. Plaintiff will also seek a 310,000 civii pena¥ty pursuant to Lab. Code section

1102.5(1).
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among 'ro §NGAGE 1111 ran INTaaAc'nvn PRogEss 1N vlol..A'rroN or

CALIFORNIA GOVERNMENT CODE § 12240 E’I` SEQ

(Against Defendant CEN'I`ENE, INC.; Does 1-50)

4?. Plaintiff realleges and incorporates herein all paragraphs of her complaint as though

fully set forth. l
48. At all times mentioned herein, California Government Code Scction 12945. Et seq.,

were in full force and effect and were binding upon Defendants and each of thom. These sections
impose a duty to engage in the interactive process concerning medical conditions and/or
disabilities

49. In or around January, 2013, Plaintiff was diagnosed with thyroid cancer which l
caused her to be hospitalized and forced her to take a leave of absence from work. I_n or around
December 2016, Plainti&‘ suffered from hyper thyroid status as a result of her illness, which forced
h`er to take a leave of absence from work. 'I'hroughout her leave, Plaintiff kept Defendant informed
of her medical condition and the status ofher~rccovery. Further, Plaintiff requested that Defendant
engage in a good faith interactive process with her and to provide her with a reasonable

accommodation so that she could return to work.

Case No.: COM?LAINT FOR DAMAGES

 

 

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50. The last such request by Plaintiff for Defendant to engage in the interactive process
and/or provide her with a reasonable accommodation was made in May 2017.
Sl. At no time did Defendant engage in the interactive process andlor provide any

accommodation to Plaintiii`.
52. Defendant made the decision to terminate Plaintiff in _Fcbruary of 2017 and asked

that she return her work laptop.

53. Finally, on May 16, 2017 Plaintiff was informed that she formally terminated as an
employee of Defendant Plainti&` alleges that she was discriminated against due to her medical
condition, disability and!or, perceived disability

54. Instead of engaging in the interactive process and/or accommodating Plaintiffs
needs related to her medical condition and!or disability, Defendant denied any process and/or
accommodation and was finally terminated _

55. As a proximate result of the aforesaid acts ofDefend_ants. Plaintiff has suffered
actual, consequential and incidental financial losscs, including without limitation, loss of salary
and benetit, and the intangible loss of employment related opportunities in her field and damage to
her professional reputation, all in an amount subject to proof at the time oftrial. Plaintiff claims
such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 andlor any other provision
of law providing for prejudgment interest

56. As a proximate result of the wrongful acts ofDefeodants, Plaintiffhas been forced
to hire attorneys to prosecute her claims herein, and has incurred and is expected to continue to

incur attorneys’ fees and costs in connection therewith Plaintiff is entitled to recover attorneys’

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fees and costs under California Govemment Code § 12965(b).

57. 'l`he acts taken toward Plaintiff were carried out by Defendant's officers, directors,
and/or managing agents acting in a despicablc, oppressive fraudulent, malicious, deliberate
cgregious, and inexcusable manner audio conscious disregard for the rights and safety of Plaintiff
Defendants and its agents/employees or supervisors, authorized1 condoned and ratified the

unlawful conduct of each other. Consequently, Plaintiff is entitled to an award of punitive damages

against Defendants.

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Clsc No.: COMPLAINT FOR DAMAGES

 

 

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FIFTH CAUSE OF ACTION
FAILURE TO ACCOMMODATE IN VIOLA'I`ION OF CALIFORNIA GOVERNMENT

CODE § 12940 ET SE§!
(Against All Defendants)

58. Plaintiff realleges and incorporates herein all paragraphs of her complaint as though
fully set forth.

59. At all times mentioned hcrcin, California Government Code Section 12945. Et seq.,
were in full force and effect and were binding upon Defendaats and each of them. 'I'hese sections
impose a duty to provide reasonable accommodations for medical conditions and.'or disabilities

60. In or around January, 2013, Plaintiff was diagnosed with thyroid cancer which
caused her to be hospitalized and forced her to take a leave of absence from work. In or around
Deeernber 2016, Plaintiff suffered from hyper thyroid status as a result of her illness, ulrich forced
her to take a leave of absence from work. Throughout her leave, Plaintiff kept Defendant informed
of her medical condition and the status of her recovery. Further, Plaintiff requested that Defendant
engage in a good faith interactive process with her and _to provide her with a reasonable

accommodation so that she could return to work.

61. The last such request by Plaintiii' for Defendant to engage in the interactive process
andfor provide her with a reasonable accommodation was made in May 2017.

62. At no time did Defendant engage in the interactive process and/or provide any
accommodation to Plaintiff.

63. Defendant made the decision to terminate Plaintiff in February of2017 and asked

that she return her work laptop.
54. Finaliy, on May 16, 201? Plaintiff was formally informed that she was terminated

as an employee of Defendant Plaintiff alleges that she vvas discriminated against due to her
medical condition, disability and/or, perceived disability.
65. lnstead of engaging in the interactive process and/or accommodating Plaintiffs

needs related to her medical condition andlor disability, Defendant denied any process and/or

accommodation and was finally terminated

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Cnse No.: COMPLAINT FO_R DAMACES

 

 

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66. As a proximate result of the aforesaid acts of Defendants. Plaintiff has suffered
actual, consequential and incidental financial losses, including without limitation, loss of salary
and bcnelit, and the intangible loss of employment related opportunities in her field and damage to
her professional reputation, all in an amount subject to proof at the time of trial. Plaintilf claims
such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 andlor any other provision
of law providing for prejudgment interest. '

67. As a proximate result of the wrongful acts of Defendants, Plaintiff has been forced
to hire attorneys to prosecute her claims herein, and has incurred and is expected to continue to
incur attorneys’ fees and costs in connection therewith Plaintiff is entitled to recover attomeys’
fees and costs under California Governrncnt Code § 12965(1)).

68. ’t`he acts taken toward Plaintiff were carried out by Defendant’s oftieers, directors,
and/or managing agents acting in a despicable, oppressive, fraudulent,_malicious, deliberate,
cgregious, and inexcusable manner and in conscious disregard for the rights and safety of Plaintiff
Defendants and its agentslemployees or supervisors aurhorized, condoned and ratified the

unlawful conduct of each other. Consequently, Plaintiff is entitled to an award of punitive damages

against Defendants.
SIXTH CAUSE OF ACTION

INTERFEL¢ NCE WI'I`H AND FAILURE TO PROVIQE LEAVE I.N VIOLATIQN QF
‘§ALH?ORNIA GOVERNMENT CODE § 12940 ET SEQ

(Against All Defendants)

 

69. Plaintiii`r,ealieges and incorporates herein all paragraphs of her complaint as though
fully set forth.

70. A_t ali times relevant herein, Defendant Employer employed more than 50 persons
within 75 miles of the worksite where Piaintii`t` was employed '

71 . Plaintiff was entitled to 12 weeks of leave related to her health condition, cancer
treatment or required overnight stays in hospitals Plaintiff was not afforded any such leave

Plaintiff had more than 12 months of service with Defendant Employer and over 1250 hours of

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Case No.: COM?LAINT FOR DAMAGES

 

 

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service with Defendant Employer during the previous 12 month period. Plaintiff was entitled to
leave pursuant to California Government Code § 12945.2 et seq.

72. Defendant Employer's interference with and failure to provide Plaintiff with leave
as described in this Complaint violates the Califomia I-`air Employment and Housing Act as
promulgated in Government Code § 12945.2 et seq. and other state and federal statutes which
mandate family and medical leave.

73. As a proximate result of the aforesaid acts of Defendants, and each of them,
Plaintiff has suffered actual, consequential, and incidental financial losses, including without
limitation loss of salary and benciits, and the intangible loss of employment related opportunities
in her field and damage to her professional reputation, all in~ an amount subject to proof at the time
of trial. Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288
and/or any other provision of law providing for prejudgment interest.

74. As a proximate result of the wrongful acts ofDefendants, and each of them,
Plaintiff has suffered and continues to suffer emotional distress, humiliation, mental anguish and
embarrassment, as well as the manifestation of physical symptoms l’laintiff is informed and
believes and thereupon alleges that she will continue to experience said physical and emotional
suffering for a period in the future not presently ascertainable all in an amount subject to proof at
the time of trial.

75. As a proximate result of the wronng acts ofDefentlants, and each of thern, _
Plaintiffhas been forced to hire attorneys to prosecute her claims herein, and has incurred and is
expected to continue to incur attorneys fees and costs in connection therewith Plaintiff is entitled
to recover attorneys' fees and costs under California Government Code § l2965(b). .

76. ` 'I`he acts taken toward Plaintiff were carried out by Defendants- ofl:icers, directors,
and/or managing agents acting in a despioabie, oppressive, fraudulent, malicious, deliberate,
cgregious, and inexcusable manner and in conscious disregard for the rights and safety of Plaintiff
Defendants, and each ofthem, and their agents/employees or supervisors, authorized, condoned
and ratified the unlawful conduct of each other. Consequently, Plaintiff is entitled to an award of

punitive damages against each of said Defendants.

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Case Nu.: COMPLAINT FUR DAMAGES

 

 

SOLOUKI l SAVOY. LLP

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g_s_;,_;r‘on_nta oovnnNMn__N'r conn § 12940 ET sEQ.
(Against Defendant CEN’I`ENE, l'NC. and Does 1~50)

77. Plaintiff realleges and incorporates herein ali paragraphs of her complaint as though

 

fully set forth.

78. At all times mentioned herein, California Government Code Sectiou 12940 ct scq.
were in full force and effect and were binding upon Defendants and each of tliezn. These sections
impose on an employer a duty to allow an employee disabled by a serious health condition, or `
chronic hea{th condition that causes incapacitation that insults in, and requires, overnight hospital
stays. These sections also impose a duty to provide reasonable accommodations for conditions
related to the medical condition '

79. Plaintiffrcquired a leave of absence related to her medical condition and also asked
to be covered by her health insurance and forjob protection instead of accommodating her

request, Defendants terminated Plaintiff"s employmentl
80. As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered

actuai, censequential, and incidental financial losses, including without iimitation, loss of salary
and bcnefits, end the intangible loss of employment related opportunities in her iield and damage
to her professional reputatiou, all in an amount subject to proof at the time of trial. Plaintiff claims
such mounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or any other provision
of law providing for prejudgment interest n l

81. As a proximate result of the wrongful acts ochfendants, Plaintiff has suffered and
continues to suffer emotional distress, humiliation, mental anguish and emhat'rassment,' as well as
the manifestation of physical symptoms Plaintitf is informed and believes and thereupon eileges
that she will continue to experience said physical and emotional suffering for a period tn the future
not presently ascertainable, all in an amount subject to proof at the time of trial

82. As a proximate result of the wrongful acts of Defendants. Plaintiff has been forced

to hire attorneys to prosecute her claims herein, and has incurred and is expected to continue to

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Cnsc Nu.: COMPLAIN'I' FOR DAMAGES

 

 

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incur attorneys' fees and costs in connection therewith. Plaintiff is entitled to recover attorneys’
fees and costs under Califomia Government Code § 12965{b}-.

83. The acts taken toward Plaintiff were carried out by Defendants' ofticers, directors,
andlor managing agents acting in a despieable, oppressive fraudulent, malicious, deliberate
egregious, and inexcusable manner and in conscious disregard for the rights and safety of Flaintiff.
Defendants and their agentslemployees or supervisors, authorized, condoned and ratified the
unlawful conduct of each other. Consequently_. Plaintiff is entitled to an award of punitive damages

against Defendants.
EIGHTH CAUSE OF AC’I‘ION

Y!RDNGFUL f_I_EBMINA§:lQN §§ VIOLATION OF PUBLIC POL[CY
(Against Defendant CENTENE, INC.; Ducs 1-5(})

84. Plaintiff realleges and incorporates herein all paragraphs of her complaint as though
fully ser fonh.

85. At all times mentioned. the public policy of the State of California, as codified,
expressed and mandated in California Governmcnt Code § i2940. is to prohibit employers from
discriminatingI harassing and retaliating against any individual on the basis of disability, perceived
disability, medical condition and/or perceived medical condition The public policy of the State of
Caiifomia is designed to protect ali employees and to promote the welfare and weil-being of the
community at large. Accordingly, the actions of Defendants in disciplining and then firing Plaintiff
while she was on protected leave as alleged and described herein was wrongful and in
contravention ofthe express public policy of the State of

86. Califomia, to wit, the policy set forth in Caiifomia Governrnent Code § 12940 et
seq., California I..abor Code § 1102.5 and the laws and regulations promulgated thereunder.

87. As a proximate result of the aforesaid acts of Defendant, Plaintiii`has suffered
actual, consequential and incidental financial iosses, including without limitation, ioss of salary
and benefits, and the intangible loss of employment related opportunities in her field and damage

to her professional mputation, all in an amount subject to proof at the time of trial. Plaintiff claims

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Cose No.: COMPLAINT FOR DAMAGES

 

 

SOLOUKI l SAVOY, LLP

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such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or any other provision

of law providing for prejudgment interest
88. 'I`hc acts taken toward Plaintiff were canied out by Defendant's officers, directors,

and/or managing agents acting in a deépicable, oppressive, fraudulent, maiicious, deliberate,

' egregious, and inexcusable manner and in conscious disregard for the righ!s and safety aniainthf,

themby justifying an award ofpunitivc damages in a sum apprnpriate to punish and make an

example of Defendants.

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Cnse No.: ` COMPLAINT FOR DAMAGES

 

 

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PRAYER FOR RI:`.LIEF
WHEREFORE, Plaintiff prays forjudgmcnt as foliows:
l. For general damagcs, according to proof;
2. For special damages, according to proof;
3. For loss of camings, according to prooi`;
4. For attorneysl fccs, according to proof;
5. For prejudgment intercst, according to proof;
6. For punitive and exemplary damages, according to proof;
7. _For injunctive relicf, including rctuming Plaintiff to her original position and providing
training to all employees on their rights under the CFRA, and FMLA;
8. For penalties allowed by the Califomia.f.abor Codc;
9. For costs of suit incurred herein; and

10. For such other relief and the Court may deem just and pmpcr.

Dated: March 25, 2018 SOLOUKI | SAVOY, LI..P
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BY: Shoham J. Solouki, Bsq.
Attorney for Plaintiff

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Coae No.: COMPLA!NT FOR DAMAGES

 

 

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DEMAND FOR JURY TRIA!__._
PlaintiffMicheile Rarnnarinc hereby demands a jury trial.
Dated: March 25, 2018 SOLOUKI l SAVOY, LLP

B`Y:Shoham J. Solouki, Esq.
Attorney for Plaintiff

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EXHIBIT “A”

 

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October 19. 201?

Michelle Rarnnarine
316 W 2nd Street
Los Angeles. California 90012

RE: Notice of Case Closure and Right to Sue
DFEH Matter Number: 967312-319435
Right to Sue: Ramnarine l Centene

Dear !vliche|ie Ramnarine,

`t'his letter informs you that the above-referenced complaint vvas filed with the
Departrnent of Fair Emp|oyment and Housing (DFEH) has been closed effective .
October 19, 2017 because an immediate Right tc Sue notice was requested DFEH wiil
take no further action on the complaint ` '

This tenor is also your Right to Sue notice Acccrding to Government Code section
12965, subdivision (b). a civil action may be brought under the provisions of the Fair
Ernployment and Housing Act against the person. employer, labor organization or
employment agency named in the above-referenced complaint. The civil action must be
filed within one year from the date ot this letter.

To obtain a federai Right to Sue notice, you must visit the U.S. Equa| Employment
Opportunity €ommission (EEOC) to file a complaint within 30 days of receipt of this
DFEH Notice.of Case Closure or within 300 days of the altoged discriminatory act,
whichever is earlier.

Sincerely,

Department ot Fair Employrnent and Housing

 

BY FAX

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lNSTRUCTlONS Ol\i HOW 'l'O COMPLETE 'IHE COVER SHEET M

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one box for the case type that best describes the cesa. lt the case tits both a general and a mere speclnc type ot case listed in item i,
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Ta assist you ln compietlng the sheet. examples of tha cases that belong under each case type ln item 1 are provided betow. A cover
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which property. services, or money wm acquired on credit A collections case does not inciuclo an action seeking the tottewtng: {‘t} tort

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attachment The identihcatlcn of a case as s rule 3.740 collections case on this form means that it witt be exempt lrorn tha general
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CIV|L CASE COVER SHEET ADDENDUM AND
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Thls form ls rcqulred pursuant to l..ocal Rulo 2.3 ln all new civil case l'llings ln the l.os Angaiea Suporiorcourt.

 

Step 12 After completing the Clvll Casc Cover'$heet {luc|lclal Cuunc%l form CM~mD}, find the exact case tv'pe ln
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SHDRT .
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Step 41 Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
type of action that you have selected. Enter the address which is the basis for the filing tocation, including zip oode.

(No address required for class action cases}.

 

 

 

 

 

 

 

 

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FLEASE HAVE THE FOLLOW¥NG ITEMS COMFLETED AND READV TO BE F!LED lN ORDER TO PROPERLY
COMM ENCE YOUR NEW COURT CASE:

1. Orig inal Comp|aint or Petition.

2 it filing a Cor`nplaint. a completed Summons form for issuance by the Cierk.
3. Civil Casa Cover Shoet. Judiciai Courn:it form CM-010.

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Civil Casa Cover Sheet Addendum and Statement_of Locetion torm. %..ACIV 109, LASC Approved 03~04 {Rev.
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Paymsnt in full of the filing fes. unless there is court older for naiver. partial or scheduled payments

B. A signed order appointing the Guerdian ad Litem, .iudir:iai Councii form CiV-Oi 0. if the plaintiff or petitioner is a
minor under 18 years of age wiil be required by Court in order to issue a summons

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7. Additlonal copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and oompiaini, or other initiating pleading in the oese.

 

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Case 2:18-cv-O3563-T.]H-SK Document 1 Filed 04/27/18 Page 39 of 63 Page |D #:39

SUPER!OR COURT OF CALIFORNlA, COU`NTY OF LOS ANGELES
NOTICE OF CASE ASSIGNMENT - UNLMITED CIVIL CASE - lC

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Your case is assigned for oil purposes to the judicial officer indicated below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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SHER.RI R. CAR'!'ER, Exe¢:utive Of!icet'lclerit of Court

By _ , Deputy Cierk

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Case 2:18-cv-O3563-T.]H-SK Document 1 Filed 04/27/18 Page 40 of 63 Page |D #:40

DSIBUQ LIQH S FOR M. QL!BG QHLIMIIED' CIV}L CASE§

Tbo following critical provisions ofthe Califprni'ti R.ulea of Court, 'i'itie 3, Diirision 7, as applicable in the Supen'or Court, are summarized "
for your assistance .

’l`lte Division 7 Rolos lwore effective .'i`enur'rry l, 2007. ‘l`hey apply to ali general civil ceses.

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Tbc`Divlsion 7 Rulcs shell have priority over eli other Local itules to the extent the others nrc lncodsirttcitt

A challenge under Code of Civil Proccdure Scction 170.6 must be.rrtndc within 15 days after notice of assignment for oil purposes

to n judge, or ife party has not yet appeorcd, within 15 days of the diet appearance

TIME §_,'§MQARDS - . -
Casse assigned-rd the Indcpc_tid_eru Calendarlng-Courts will be subject to processing under the following time sta.udards:

coMFM' - _ _
All complaints shell be served within 60 days offi.iing and proof of service shell be tiled.within 90 deye.

CRO 0 '
Wiihout leave of court E.rst being obtainod, no cross-complaint may be filed by any party alter their answer is iilcd. Cross-
complaints shell be served within 30 days of tire killing date and n pmfot'smiice fled within‘60 days ofthe tiling date.

A status conference will be scheduled by the assigned ledepcndent_Celc_nder lodge rm lever than 2‘10 doys~ utter the titlng of the
complaint Counscl must be fully prepared to discuss tire following ,issues:'etremative dispute molurion, bifurcation,'sctticment,- .
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‘ E.RENQE ` . ,
Tl\e Court will require tho'perties to attend a final status conference not more then 10 days before tl:ro scheduled trial detc. Ali'
parties shall have motions in liminc, bifurcation _rrtot_ione,- statements o_f msjor evidentiary issues,'dispositive motionq, requested
form jury instmctions,'specinl jury insmtctions. and special juiy verdicts timely filed and eervod_prior. to the conference Thesc
matters may be heard and resolved ct this oonfe _ _ At'least fi\_re` drye before this conference counsel must also-have exchanged
lists of exhibits end witnesses end have submitted t_o the court a' brief_statcmolt of the case to be read'to the jury panel ns required
by Clrnpter 'I`tiree ofthe_l.os Angotes Super_ior Court`Rul;es. ‘ `

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Thc court will impose appropriate sanctions_for the failure or refusal to comply with Cimpter 'l'hrce Ruics, orders mario by t_he`

Court, and time actederds.qr deadlines established by the Court or by the Chapter Thrce Rul_ec. Sucii sanctions may be on a pnrty,
or if appropriate on counsel for"o-prtrty. '

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therefore not a guarantee against tire'lmpcsltloo of sanctions under Trli`ri Court Delay Rez'tuctlou.- Corcl`nl reciting and
compliance with the actual Clmptcr Rules ls l'rnpersliv,e.. -. .

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Pursuaut to local Rulc 2.3`_, all class actions.ehail be-tlled at thc.Smuley Moslt Courtiiouse‘ert'd are randome assigned to a complex

judge et tba designated compton courthousc.- lt` the case is found riot to_ be o class action it will be retude to nn Independont
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Cascs\ fried as pruvisionally'comrilcx are initially assigned to tire Supcrvisjng lodge of complex litigation for determination of
complex status if the case is deemed to be complex within the meaning of Ceiifom'ta Rules of Court 3.400 ct s_eq‘.`, it will be
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Case 2:18-cv-03563-T.]H-SK Document 1 Filed 04/27/18 Page 41 of 63 Page |D #:41

 

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The Eariy Organizationai Meeting .Stipulation. Discovery _
Resolution Stipulat_ton, and Motions in limine Stlpuietion aro
voluntary stipulations entered into by the partles. The parties
may enter into one, Mo, or ali three of the stipulations
however, they may not alter the stipulations as written,
because the Court wants to ensure uniformity of application
These stipulations are meant to encourage cooperation
between the parties and to assist |n resolving issues in a
manner that promotes economic case resolution end judicial
efficiency

lite following organizations endorse the goal of
promoting efficiency in litigation and ask that counsel
consider using these stipulations as a voluntary way to-
promote communications and procedures among counsel
and with the court to fairly resolve lssuos in their cases.

QLos Angoies County Bar Asscclation Litigatlor\ Sectlon¢

0 Los Angeles County Bar Association
Labor and Employment L'aw Sootion¢ _

QConsumer Attorneys Assocletion of Los Angeios.
.Southorn Caiifornia Dofonse Counsol.
.Association of Business 'l'rial Lawyers§

QCalifomia Employrnorrt Lawyers Association.

 

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SUE_____ERIOR COURT OF CALIFORN¥A CQUN`IY OF LOS ANGELES

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Thls stipulation ls intended to provide a fast and informal resolution of discovery issues

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resolution of the issues

Ths parties agree that:

1. Prior to the discovery out-ott ¢n this action, no discovery motion shall be filed or heard unless

the moving partyl first makes a _written request for an informal Discovery Conference pursuant
to the terms of this stipulation

2. At the informal Disoovsry Conferenc:e the Court will oonstd er `lhe dispute presented by parties
and determine whether it can be resotved tnformally. Nothlng set forth herein wilt preclude a

party from making a record at the conclusion of en lntormal Dlscovery Conference, either
orally or ln writing

3. Followlng a reasonable and good faith attempt at an lnlormaf resolution of each issue to be

presented, a party may request an |nformal Dlscovery Con'ferenoe pursuant to the following
prooedures_: .

a. The party requesting the informai Bisoovery Conferenco wl|i:

l. File a Request for Infonnal Dtscovery Conferenoe with the cterl<'s attica on the
approved form (copy attached) and deliver a courtesy, conformed copy to the
assigned department

ii. lnclude a brief summary of the dispute and specify the relief requestsd; and

iil. Serve the opposing party pursuant to any_ authorized or agreed method of service
that ensures that the opposing party receives the Request for lnforma| Dlscovery '
Conference no later than the next court day following the tiling.
b. Any Answer t_o a Request for informant i)isoovery Conference must:
i. Also be tiled on the approved form (copy attached};
_ li. _ include a brief summary of why the requested relief should he denied;
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usc moved 0411`1 S¥lPlJ LATION - DlSCOVERY RESOL.UT|ON l
For Optlonal Use Page 1 of 3

 

 

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iii. Be filed within two (2) court days of receipt of the Requsst; and

iv`. Be served on the opposing party pursuant to any authorized or agreed upon
method of service that ensures that the opposing party receives the Answer no
iater than the next court day following the filing

c. No.other pleadings including but not limited to exhibits. declarations or attachmentsl witt
he accepted.

d. if the Court has not granted or denied the Request for informal Disoovery Conference
within ten (10) days following the filing of the Request, then it shall he deemed to have
been denied. if the Court acts on the Request, the parties will be notified whether the
Request for informal Dlscovery Conferenoe has been granted or denied and lf granted,
the date and time of the lnfonnat Discovery Conference, which must b_e within __twen_t_y §2_0) _

“`"" * '" " ` da'y§ ot ther °`tiling o`f th`e Réquest for' informal Dlsc'r.r`very 'Contia`i'ence. '

e. if the conference is not held within twenty (20} days of the tiling of the Re_quest for
informal E}lscovery Conterence, unless extended by agreement of the parties and the
Court, then the Request for the informal Dlscovery Conterance shall be deemed to have
been denied at that time.

4. if (a) the Court has denied a conference or (b) one of the lime deadlines above has expired
without the Court having acted or (c) the informal Disoovery Conferenoe is concluded without
resotvlng the disputei then a party may lite a discovery motion to address unresolved issues. .

5. The parties hereby further agree that the time for making a motion to compel or other
discovery‘rnotlon is tolled from the date of filing of the Request for informal Dlsoovery
Conference until (a) the muest ls denied or deemed denied or (b) twenty (20) days alter the
tiling of the Request for informed Disoovery Conference, whichever is eartior, unless extended
by Order of the Court.

it is the understanding and intent of the parties that this stipulation shalt, for each discovery
dispute to which lt applies, constitute a writing memorializing a “specltlc later date to which
the propoundan [or demanding or requesting] party end the responding party have agreed in
writing,' within the meaning of Code Civil Pmcedure sections 2030.300(c), 2031.320(c), and
2033.290[¢:).

6. Nothlng herein witt preclude any party from applying ex parte for appropriate reiief. including
an_ order shortening time for a motion tro be heard concerning disoovery.

7. Any party may tenninate this stipulation by giving hventy~one (21) days notice of intent to
terminate the stipulationl

B. References to ‘days" mean calendar days, unless otherwise noted. if the date for performing
any act pursuant to this stipulation falls on a Saturday. Sunday or Court holiday, then the time
for performing that act shall be extended to the next Court day. .

 

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The following parties stipulate:

 

 

 

 

 

 

 

 

 

 

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SUPERIOR COURT OF CAL|FORN|A, COUNTY OF LOS ANGELES

COUR°YHWSE ADDR ESS

 

Ft.AiNTtFF

 

DEFENDANT.

 

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the litigation and to assist the parties in efficient case resolution

The parties agree that:

1. The parties commit to conduct an initial conference tin-parson or via teleconference or via
videoconference_) within 15 days from the date this stipulation is signed, to discuss and consider
whether there can be agreement on the foilowr'ng:

- a. Are motions to challenge the pleadings necessary? lf the issue can be resolved by
amendment as of right. or it the Court would allow leave to amend, could an amended
complaint resolve most or all of the issues a demurrer might otherwise raise? tf so, the parties
agree to work through pleading issues so that a demurrer need only raise issues they cannot

_ resolve. is the issue that the_delendant seeks to raise amenable to resolution on demurrer, or
would some other type of motion be preierable? Coutd a voluntary targeted exchange ot
documents or lnformation by any party cure an uncertainly.ln the pteadlngs‘?

b. initial mutual exchanges of documents at the ‘ccre” ot the litigation .(For example, in an
employment mse, the employment records. personnel tile and documents relating to the
conduct in question could be considered 'core." in a personal injury case. an incident or
police report, medical records, and repair cr maintenance records could be considered `
°core.");

c. Exchange ot names and contact-information of witnesses;

d. Any lnsurance agreement that may be available to satisfy part cr eli of a judgmentl or to
indemnify or reimburse for payments made to satisfy a judgment

e. Exchange of any other information that might be helpful to facilitate understandingl handling,
or resolution of the case in a manner that preserves objections or privileges by agreement

t. Controtltng lssues of law that. it resolved eariy, will promote efficiency and economy in other
phases of the case. Also. when and how such issues can be presented to the Court;

g. Whether or when the case should be scheduled with a settlement ofticer, what discovery or
. court ruling on legal issues is reasonably required to make settlement discussions meantngful,
and whether the parties wish to use a sitting judge or a private mediator or other options as

 

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discussed in the "Alternative Dlspute Resolution (ADR) information Fackage" served with the
complaint

h. Computation of damages, including documents. not privileged or protected trom disclosure on
which such computation is based; »

i. Whether the case is suitable for the Expedi_ted .iury Triai procedures (see information ai
www.iacoug,o§g under “C:'vil” and then under “Genera.i information').

2. The time for a defending party to respond to a compiaint or cross»oompiaint will be extended

to torthe compiaini. and __ for the cross-
(lNSERI‘ DATE) ftNBERT BATE}

complaint which is comprised cf the 30 days to respond under Govemment Code § 68616(1)).
and the -30 days permitted by Code of Civil Procedure section 1054(a}. good cause having
been found by the Civil Supervisin§ Judge due to the ease management benefits provided by
-~'_ ' ~~ -~ this Stipulation:"A'~oopy-'ot the-General Grder cen--be'feund at'MMunder "Civii", " '
click on *Generai infonnation”, then cl ick on ‘Vo!untery Eii‘iclent Utigation S!ipuiaiions'.

3. The parties will prepare a joint report titled 'Joint Siatus Report Pursuani to initial Conferenoe
end Early Or'ganizaticnal Meeting Stipuiation, and it desireci. a proposed order summarizing
results of their meet and confer and advising the Court o! any way it may assist the partles'
efficient conduct or resolution of the cese. 'i'he parties shali attach the Jo|nt Staius Report to
the Cese Management Conference statement, and tile the documents when the CMC
statement is due. - -

4. ' References to "days' mean calendar days, unless otherwise noted. li the date for performing
any act pursuant to this stipulation talis on a Saturday, Sunday cr Court hoiiday, then the time
for performing that act shall be extended to the next Court day

The toiiowing parties stipulate:

Date:

 

 

 

 

 

 

 

 

 

 

 

 

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ATTURNEY FDR N

SUPER|OR COURT OF CAL|FORN|A, COUNTY OF LOS ANGELES

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(pursuant to the Discnvery Resoiution Siipuiailon of the parties)

 

I:l Request for iniormai Discovery Conference
Answer to Request for informal Discovery Ccnference

1._1“_his_documentreiates_to: _ .._. __ . __ _._._.- - ______ ___ '

2. Deadiine for Court to decide on Request: onset dam re grams days recurring wing or

the Request)

3. Deadiine for Court to hold lntormal D|scovery Oonference:
days foilovinng |iimg di the Rer;uest).

(rnsert date 20 calendar

 

. For a Reqr.rest for informal Discovery Conference. §rief_i\¢ describe the nature of the

discovery dispute. Inciudlng the facts and iegai arguments at issue. For an Answer to
Request for informal Discovery Conference, briefig describe why the Court should deny
the requested discovery, inciuding the facts and legal arguments at issue.

 

 

 

 

 

umw °9‘("°“') iNFORN|AL DISCOVERY CONFERENCE

:,-Q,Sg,‘u`“mwa°, usi wm (pursuant to the Dlscovery Resotution Stipulation of the parties)

 

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SUPERIOR COURT OF CAL|FORNIA, COUNTY OF LOS ANGELES

COURTHOUS U

 

 

BEFENEMNT:

 

 

 

STiPULATiON AND ,ORDER- MOTIGNS iN LIMINE.

 

- _ . .. . .._._ ............ ._ ._ ...._ ..___ . ..-...... -... . ._ . '~.» ~...- . _ __ ...

This stipuiation is intended to provide fast and intorrnai resolution of evidentiary
issues through diligent efforts to define and discuss such’ issues and limit paperwork

The parties agree that:

‘i. At least days before the iinai status conference each party will provide aii other
parties with a iist containing a one paragraph explanation of each proposed motion lri
iimine. Each one paragraph explanation must identify the substance of a single proposed
motion in iim§ne and the grounds for the proposed motion.

2.' The parties thereafter witt meet and confer, either ln person or via teleconference or
videoconference, concerning all proposed motions in iimine. in that meet and confer, the
parties will deieirnine:

a. Whether the parties can stipulate to any ot the proposed motions if the parties so
stipulate they mayi f le a stipulation and proposed order with the Court_

b_ Whether any of the proposed motions can be briefed and submitted by means of a
short joint statement of issues_ For each motion which can be addressed by a short
joint statement of issues a short joint statement of' issues must be filed with the Court
10 days prior to the fnai status conference Each side's portion of the short joint
statement of issues may not exceed three pages The parties wilt meet and confer to
agree on a date and manner for exchanging the parties’ respective portions of the
short joint statement of issues and the process for filing the short joint statement of
issues

3. Ail proposed motions in limine that are not either the subject of a stipulation or briefed via
a short joint statement of issues will be briefed and filed in accordance with the Caiifornla
Ruies of Court and the Los Angeies Superlor Court Rules.

 

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The following parties stipuiate:

Date:

 

 

 

 

 

 

 

 

 

 

 

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Superior Court of Caiiforn_ia
County of Los Ange|'es

m.,._.._...»....... . -

 

ALTERNATl\/E DlSPUTE RESOLUT|ON (ADR)
iNFORl\/lAT|ON PACKET

 

`i'he person who f`iies a civil lawsuit {piaintlffj must include the ADR information
Packet with the complaint when serving the defendant Cross-compiainants must
serve the ADR information Packet on any new parties named to the action
together with the cross-complains

`i’hera are a number of ways to resolve civil disputes without having to sue
someon e. These alternatives to a lawsuit are known as alternative dispute
resolution jADRj.

ln ADR, trained, impartial persons decide disputes or help parties decide disputes
themseives. these persons are cailed neutrals. For exampie, in mediations, the
neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
the court. Neutrais can help resolve disputes without having to go to 'court.

 

 

 

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Advantages of ADR

Often faster than going to trial

Ciften less expensive, saving the litigants court costs, attorne\fs fees and expert fees.

May permit more participation, ai|owing parties to have more controi over the outcome.

Ailows for flexibility in choice of ADR processes and resolution of the dispute.

Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
mutuaiiy agree to remedy.

'i'here are fewer, if any, court appearances Because ADR can be faster and save money, it can reduce
stress.

` Disadvantages of ADR - ADR may not be suitable for every dispute.

if ADR is binding, the parties normally give up most court protections, includinga decision by a judge or

~ jury under formal rules of evidence and procedure, and review for iegal error by'an appeilate court ' '

ADR may not be effective if lt takes place before the parties have sufficient information to resolve the
dispute.

The neutral may charge a fee for his or her services

if the dispute is not resolved through AD R, the parties may then have to face the usual and traditional
costs of triai such as attornefs fees and expert fees.

The Most Cpmmon Types of ABR

Mediation

in mediation. a neutral {the mediator) assiss the parties in reaching a mutually acceptable resolution
of their dispute.~Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
decide how the dispute is to be resoived.

' Mediation is particularly effective when the parties have a continuing relationship, like
neighbors or business people. Niediation is also very effective where personal feelings are
getting in the way of a resolution. This is because mediation normally gives the parties a chance
to express their feelings and find out how the other sees things

' Mediation may not he effective when one party is unwilling to cooperate or compromise or
when one of the parties has a significant advantage in power over the other. Therefore, it may
not be a good choice if the parties have a history of abuse or victimi:atlon._

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Arbitration

ln arbitration, a neutral person called an "arbltrator“ hears arguments and evidence from each
side and then decides the outcome of the dispute Arbitration is typically less formal than a
trial, and the ruies of evidence may be relaxed Arbitration may be either “blnding" or “non-
binding." Binding arbitration means the parties waive their right to a trial and agree to accept
the arbitrator’s decision as final. titan-binding arbitration means that the parties are free to
request a trial li they reject the arbitrator's decision.

Arhitration is best for cases where the parties want another person to decide the outcome of
their dispute for them but would like to avoid the formality, time,' and expense of a triai. it may
also be appropriate for complex matters where the parties want a decision»maker who has
training or experience in the subject matter of the dispute.

Manda tory $ettlement Conlerence lM$C}

Set'tiement Conlerences are appropriate in any case where settlement is an option.
Mandatory Settlement Conferences are ordered by the Court and are often held near the date

a case is set for trial. ‘l‘he parties and their attorneys meet with a judge who devotes his or her
time exclusively to preside over the MSC. i'he judge does not make a decision in the case but
assists the parties ln. evaluating the strengths and weaknesses of the case and in negotiating a
settlement _ __ '

The Los Angeles Suparior Court Mandatory Settlement Conference [MSC) program ls free of
charge and staffed by experienced sitting civil judges who devote their time exclusively to
presiding over MSCs. The judges participatlng in the judiciai MSC program and their locations
are identilied in the list of Settlement Ofiicers found on the Los Angeles Superior Courtwebsite
at htto:[[wvm.lacourt.org[. `ihis program is available in general jurisdiction cases with
represented parties from lndepen dent calendar {lC) and Central Civil West (CCW) courtrooms.
in addition, on an ad hoc basis, personal injury cases may be referred to the program on the
eve of trial by the personal injury master calendar courts in the Staniey Moslr Courthouse or the
asbestos calendar court ln CCW.

in order to access the tos Angeles Superior Court MSC Program the judge in the lC courtroom,
the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
the program Further, all parties must complete the iniormation requested in the Settlement
Conference intake Form and email the completed form to mscdeptlS@lacourt.org.

LAABR 005 [Rev. 03/17)
LASC Adopted 10»03
Cal. Rtrles of Court, rule 3.221

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Additionai information
To locate a dispute resolution program or neutral In your community:
¢ Cootact the California Department of Consurner Affairs (www.dca.ca.gov) Consumer information
Center toll free at 800-952-5210, or;
» Contact the local bar association (http://www.facba.org/) or;

¢ took in a telephone directory or search online for "mediators; or "arbitrators."'

_There may be a charge for services provided by private arbitrators and mediators.

A list of approved Staie Bar Approved Mandaton/ Fee Arbitration programs fs available at

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~- htt :A calbar.ca. ov Attorne ember$ervlces FeeArbltration A rewede rams.~as xit19 " ' '~ ' '- “

To request information about, or assistance with, dispute resolution, call the number listed beiow. Or von may
call a Contract Provider agency directly. A list of current Contract provider agencies in Los Angeles County is
available at the link helow. ,

htt : css.la oun . v ro rams dis ut -resolutio - ro re -d

County of !.os Ange|es Dispute Resolut|on Program
3175 West Sih Street, Roorn 406
Los Angeies, CA 90020-1798
TEL: (213} 738-2521
Fsz 1213) 335-3955

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CT Corporatiorz

TO: Kathy Choma
Centene Corporation
7700 Forsyth Btvd

Saint Louis, MO 63105-

Case 2:18-cv-O3563-T.]H-SK Document 1 Filed 04/27/18 Page 54 of 63 Page |D #:54

Service of Process

Transmittal
03/30/2018
CT i_og Nnmber 533067480

RE: Process Served in California

FOR: Centene Corporatiori (Domestic State: DE}

ENCLOS£D ARE COFEES OF LEGA§_ PRDC£SS RECEIV£D BY `FHE STATUTGRY A$ENT 0¥ '¥'HE .RBQVE COMFANY' AS FOLL.OWS:

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NATURE OF ACTION:

DN WH°M PROCESS WAS SERVED:

DATE AND HOUR OF SERV|CE:
JURFSD|CT|DN SERVED :
APPEARANCE OR ANSWER l.'|U£:

ATTORNEY(S) i' SENDER{S}:

ACTION ITEMS:

$IGNED:
ADDRESS:

TELEI'HONE:

M|CHELLE RAMNARZNE, etc., Pltf. vs. CENTENE CORPORATlON, etc., et al., ths.
Surnmons, Complaint, Attaclimerit(s), Sti`pulation{s)

Los Angetes County ~ Superi`osr Court, CA
Case # BC700074

Er‘nployee Liti`gati`on - Discri`rni`nation

C T Corporation Systern, Los Angeles, CA
By Process Server on 03/30/26§8 at 14:3{}
Cali'forni`a

Wi`thin 30 days after service

Grant Josepii Savoy
SOLOUK| | SAVOY, LLP

3?6 W. 2 Street, Suite 1200
i_os Angeles, CA 90012
213-814-4940

CT has retained the current log, Retai`n Date: 04/02/2018, Expected Ptzrge Date:
04/07/ 2018

image SOP
Email Notification, Derek Muriro Gmunro@centene.com

Ernai`l Noti`fication, Kathy C§ioma kchoma@centene.com

C T Corporation Systern
818 West Seventh Street
Los Angeles, CA 90017
213-337-4615

Page1 Of 1 /'CM

information dtsplayed on this transmittal is for CT
Corporation's record keeping purposes only ann is provided to
the recipient for quick reference Tnis information does not
constitute a !egai opinion as to the nature 01 action, the
amount of damagesl the answer date, or any information
contained in the documents themselves Recipaent is
responsible for interpreting said documean and ior taking
appropriate action Signatures on certiiied mail receipts
conftrrn receipt of package oiiiy, not contents

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EXHIBIT B

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Encino, California 91436 WUW univ
telephone (318) 503- 3700 81 9'°"61|:» initio so,ii nopsi/wm
Facsimilo: (818) 506-4827 y
Attorneys For Defendant CEN'I`ENE
CORPORAT!GN
SUPERIOR C()URT OF THE STA'I`E OF CALIB`ORN!A
COUN'I‘Y OF LOS ANGELES, CEN'I`RAL DISTRICT
MlCl~lELLE RAMNARINE, an individual, Case No. BC"!GOO"M
Plaintifl, .iudge: Davi`d S. Cunningha\rn
Dept: 37
v.s.
' DEFENDAN‘I' CENTENE
C13 "113N`E CORPORA'I`ION a Doiaware CORPORATION’S ANSWER T()
oorporation; and DOES 1 through 10, COMPLAINT FOR DAMAGES
inclusivo,
Aotion Filod: March 29, 2018
Defendanis. Triaf Daio; None Set
Defendant CEN'|`ENE CORPORA'|`ION (“De£"oiidsipt”), for itself and rio other Det`i:ndants,
hereby responds to the unverified Compliiint (“Complaint"} filed by Plaintiff MICl-lELLE

RAMNARiNi_i (“Piaimio’=), as ibiiows; '
GENERAL r)ENiAL

 

l. Pursuaiit to the provisions of Code of Civil Procodui'e Section 431.30, Defendant
denies generaliy and specifically, each and every material allegation contained iii the unverified
Complaiiit, and each and every purported cause of action set forth therein and the Whole thereof
Defendant l"urthei' specifically denies that Plaintiffhas been damaged in any sum therein alleged, or
at ali, and that Plaintifi"is entitled to the relief sought in his Compiiiiiii, or to any other relief

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BALLARD ROSENBERG GOLPER & SAV¥TT. LLP

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AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
|Faiiure to State Facts}

2. 'l`he Compiaint i"aiis to state facts sufficient to constitute a cause of action or claim

upon which relief can be granted against this answering Defendant
SECOND AFFIRMATIVE DEFENSE
{Good Faith Legitimatc, Non-Discriminatory/Retaliatr)ry Reasons}

3. Ali actions taken by Defendant with respect to Plaintiff, if any, were taken in good
faith for icgitirnate, non*discriminatory/rctaliatory reasons without any intent to discriminate
retaliate, or commit any other act against Plaintiff in any manner prohibited by thc Caiiiornia l"`air
Employrncnt and I-lousing Act, California Govcrnmcnt Code Sections 12900, ct seq. (“thc FIEHA”),
or any other law or public policy

THIRD AFFIRMATIVE })EFENSE
{Failurc to Exhaust Administrative Remcdy}

4. Defendant is informed and believes the Complaint is barrcd, in whole or in part, by

Plaintit`f"s failure to comply with or exhaust her prerequisite administrative remedies
FOURTH AFFIRM.ATIVE DEFENSE
{Statute of Limitations}

5. Defendant is informed and believes the Complaint may be barred, in whole or in part,
by the appiicabic statutes of limitations including but not limited to Govcrnment Code Section
12965.

FIFTH AFFIRMATIVE DEFENSE
[Workers’ Compensation Act Preemption/Exelusive Rcmcdy}

6. To the extent that the Cornpiaint alleges crnotionai and/or physical injury, recovery
is barred on the ground that the Caiifornia Workcrs’ Compcnsation Act, Cai. Labor Code § 3200, ct
seq., provides thc exclusive remedy for Such injuries
///

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Defendant Centene Corporation‘s Answer to Complaint for Damages

 

 

BALLARD RUSENBERG GOI.JPER & SAVlTT. LLP

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SIXTH AFFIRMATIVE DEFENSE

 

 

|Failure to Mitigate}
7`. Any recovery on the Complaint is barred by Plaintiff”s t`ailure to mitigate ber
damages
SEVENTH AFFIRMATIVE DEFENSE
{Laches]
8. Any recovery on the Cornplaint is barred by the doctrine of laches
EIGH'I`H AFFIRl\/IATIVE DEFENSE
[C¢)ntributory Fault]
9. Any recovery on the Cornplaint is barred by Plaintist own contributory and/or

comparative fault and if Plaintiff recovers any sum or sums vvhat'soever herein, such amount{s)
should and must be reduced in proportion to the extent of Plaintit`t’s own conduct which proximately
caused in \vhole or in part, Piaintift"s claimed injuries and damages..

NINTH AFFIRMATIVE I)EFENSE

[Punitive Damages Unconstitutional]

10. Plaintiff is not entitled to recover punitive damages as an award of punitive damages
vvould violate Defendant’s rights under the Constitutions oi` the United Slates and the State of
Calit"ornia, including their rights to procedural and substantive due process, and protection from
excessive tines.

TENTH AFFIRMATIVIE DEFENSE
[Estoppel]
1 l. Plaintiff is estopped by her conduct from recovering any relief under the Compiaint.

ELEVENTH AFFIRMATIVE DEFENSE

[Waiver]
12. Any recovery on the Complaint is barred by the doctrine of waiver.
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Defendant Centene Corporation's Answer to Complaint for Damages

 

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TWELFTH AFFIRMATIVE DEFENSE
[No Malice, Oppression, or Fraud]
13. Any acts, or omissions to act, by Defendant was not the result ol" oppression, fraud

or malice as such terms are defined by Cal. Civil Code § 3294.
THIRTEENTH AFF{RMATIVE DEFENSE
{Unclean Hands}

 

14. Any recovery on the Complaint is barred, in whole or in part, by Plaintiff s unclean
hands
FOURTEENTH AFFIRMATIVE DEFENSE
[No Discrimination/Retaliation]
15. Defendant did not discriminate or retaliate against Plaintiff on any uniawi"ul basis_,

and any and all decisions that may have been made by Defendant regarding Plaintit`l" s employment
were made in good faith based upon reasonable factors
FIFTEENTH AFFIRMATIVE DEFENSE
[Reasonable Accommodation]
16. Defendant is informed and believes that reasonable steps were taken to accommodate
Plaintil"{`s purported disability
SIXTEENTH AFFIRMATIVE DEFENSE
[Not Disabled]
17. Defendant is informed and believes that Plaintiff was not a disabled individual at any
time relevant to this action
SEVENTEENTH AFFIRMATIVE DEFENSE
fUnable to Perform Essential Functions]
18. Plaintiff was unable to perform the essential functions of her job with or without
reasonable accommodation
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Defendant Centene Corporation's Answer to Complaint for Damages

 

 

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E]GHTEENTH AFF]RMATIVE DEFENSE
[Percentage of Fault}

19. Liability for the amount of non-economic damages, if any, should be allocated to
Defendant in direct proportion to its percentage oi` fault, if any, pursuant to Civil Code § 1431 et.
seq.

NINETEENTH AFFIRMATIVE DEFENSE
[Allege Other Affirmative Defenses}

20. Defendant reserves its right to allege other affirmative defenses as they may arise

during the course of discovery
TWENTIETH AFFIRMATIVE DEFENSE
[Damages Cansed by Plaintifi”s Own Conduct]

21. Damages, if any, sustained by Plaintiff were solely and proximately caused

by her own negligent, reckless, or intentional conduct
'I`WENTY-FIRST AFFIRMATIVE DEFENSE
[Justif"ication}

22. Without admitting that Defendant engaged in the conduct alleged in this lawsuit,
Defendant contends that its conduct was at all times justified, privileged, and undertaken in good its
faith and without any intent to injure Plaintiff

TWENTY-SECOND AFFIRMATIVE DEFENSE
[No impermissible Factors}

23. Defendant denies that Plaintifl`s disability, or any other impermissible factor played
any role in the employment decisions relating to Plaintiffl Alternatively, even it`some impermissible
motive had been a factor in any of those decisions, the same decisions would have been reached for

legitimate, non-discriminatory reasons

TWENTY-THIR]) AFFlRMATIVE DEFENSE

[Wrong Defendant]
24. Plaintiff was not employed by this answering Defendant
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Defendant Centene Corporation's Answer to Complaint for Damages

 

 

 

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1 TWENTY~FOURTH AFFIRMATIVE DEFENSE
2 [After Acquired Evidence}
3 25. Defendant alleges that this action may be barred and/or Defendant’s liabiiity may

4 be limited by after acquired evidence ofPlaintift"s conduct or misconductl

6 WHEREFORE, Defendant CENTENE CORPORA'I`ION prays that:
7 1. Plaintiff take nothing by way of her Complaint;
8 2. That judgment be in favor of Defendant;

9 3. 1`hat Defendant recover its costs of suit incurred herein;
10 4. That Defendant be awarded attorneys' fees incurred herein; and
1 1 5. For such other and further relief as the court deems just and proper
12
13 DATED: April 25, 2018 BALLARD ROSENBBRG GOLPER & SAVITT, l.l.-P
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Defendant Centene Corporation's Answer to Complaint for Damages

 

 

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Ang'eles, State of California. l am over the age of
eighteen years and not a party to the within action; my business address is 15760 Ventura
Boulevard, Eighteenth Floor, Encino, CA 91436.

On April 25, 2018, l served true copies of the following document(s) described as
DEFENDANT CENTENE CORPORATION’S ANSWER T() COMPLAINT F()R
DAMAGES on the interested parties in this action as follows:

Grant .1oseph Savoy, lEsq.
Shoham J. Solouki, Esq.
SOLOUKI 1 SAVGY, LLP
316 W. 2"‘i Street, Suite 1200
Los Angeles, CA 90012
Tet: (213) 814-»4940

Fax; (213)___814-2550

131 BY MA}L: 1 enclosed the document(s) in a sealed envelope or package addressed to the
persons at the addresses listed in the Service List. 1 arn “readily familiar” with Ballard
Rosenberg Golper & Savitt, I..,LP’s practice for collecting and processing correspondence
for mailing with the United States Postal Service. Under that practice, it would be
deposited with the United States Postal Service that same day in the ordinary course of
business Such envelope(s) were placed for collection and mailing with postage thereon
fully prepaid at , on that same day following ordinary business practices

13 BY E-MAIL OR ELECTR()NIC TRANSMISSION: By electronic mail transmission
from kthomson@brgslaw.com on April 25, 2018, by transmitting a PDF format copy of
such document(s) to each such person at the e-mail address listed below their address(es).
'fbe document(s) was/were transmitted by electronic transmission and such transmission
was reported as complete and without error.

Cl BY FEDEX: l enclosed said document(s) in an envelope or package provided by FedEx
and addressed to the persons at the addresses listed in the Service List, I placed the
envelope or package for collection and overnight delivery at an office or a regularly
utilized drop box of FedEx or delivered such document(s) to a courier or driver authorized
by FedEx to receive documents

l declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed on April 25_, 2018, at Encino, California.

)d\unt/t-\§dl/tctvecr\

Karen` J. Thom

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Defendant Centene Corporation's Answer to Complaint for Damages

 

BALLARB ROSENBERG GOLPER & SAV|'FT. lt,LP

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PR()()F OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

l am employed in the County of Los Angel_es,_ State of Californ_ia. 1 arn over_
the a e of eighteen years and not a partly to the within action; m6y business address is
1576 Ventura Bou evard, Eighteenth iloor, Encino, CA 9143 .

On April 27, 2018, I served true co ies ofthe followin document s)
described as NOTICE OF REMOVAL F CIVIL ACTI() ; MEMO ANDUl\/l
OF POINTS AN`D AUTHORITIES; DECLARAT!()N OF MAGGIE
ANDERSEN on the interested parties in this action as follows:

Grant Joseph Savo_y, Esq.
Shoham J. Soloukl, Esq.
SOLOUKI SAVOY? LLP
316 W. 2nd treet, Suite 1200
Los An eles, CA 90012
Tel: §2 3) 814»4940

Fax; 213)_814~2550

131 BY l\/IAIL: l enclosed the document(s) in a sealed envelope or package
addressed to the persons at the addresses listed in the Service List. l am
“readily familiar with Ballard Rosenberg Golfper & _Savitt, LLP’s ractice
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Sta_tes Posta Service. Under that practice, it would be eposited with the
United States Postal Service that same day in the ordinary course of business
Such envel_o e(s) were placed for collection and mailing with postage thereon
fully prepai at , on that same day following ordinary business practices

_l declare under penalty ofperjury under the laws ofthe United S_tates of
Ame'rica that the foregoing is true and correct and that l am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on Apri] 27, 2018, at Encino, Ca]ifornia.

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Notice ofRemoval of Civil Action

 

 

 

 

